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                    EXHIBIT G
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 KAIFI LLC,

              Plaintiff,                             CASE NO. 2:20-CV-281-JRG

        v.                                           JURY TRIAL DEMANDED

 T-MOBILE US, INC. and T-MOBILE USA,
 INC.,

              Defendants.


 KAIFI LLC,

              Plaintiff,

        v.

 VERIZON COMMUNICATIONS INC.,
 CELLCO PARTNERSHIP D/B/A VERIZON                    CASE NO. 2:20-CV-280-JRG
 WIRELESS, VERIZON SERVICES CORP.,
 VERIZON ENTERPRISE SOLUTIONS,                       JURY TRIAL DEMANDED
 LLC, VERIZON BUSINESS GLOBAL LLC,
 VERIZON BUSINESS NETWORK
 SERVICES, LLC, VERIZON CORPORATE
 SERVICES GROUP INC., VERIZON DATA
 SERVICES, LLC, VERIZON MEDIA INC.,
 and VERIZON ONLINE, LLC,

              Defendants.

 LETTER OF REQUEST: REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
       PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON
  THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS


 GREETINGS:

  1. Sender                                 The Honorable Rodney Gilstrap
                                            United States District Court for the Eastern
                                            District of Texas
                                            Sam B. Hall, Jr. Federal Building and United
                                            States Courthouse

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                                                     100 East Houston Street
                                                     Marshall, Texas 75670
                                                     USA
  2. Central Authority of the Requested State        National Court Administration
                                                     Attn: Director of International Affairs
                                                     Seocho-daero 219
                                                     Seocho-gu
                                                     Seoul 06590
                                                     Republic of Korea
  3. Person to whom the executed request is to       This Court; representatives of the parties as
  be returned                                        indicated below; the witnesses from whom
                                                     evidence is requested as indicated below; and
                                                     such other person(s) that you deem proper.
  4. Specification of the date by which the          As soon as reasonably practicable.
  requesting authority requires receipt of the
  response to the Letter of Request                  Reason for urgency: The court’s designated
                                                     deadline for submitting documentary and
                                                     testimonial evidence in this case is July 9,
                                                     2021. Defendants respectfully request prompt
                                                     execution of this Request given the deadline
                                                     above.

        In conformity with Article 3 of the Hague Convention on the Taking of Evidence Abroad

 in Civil or Commercial Matters (“Hague Convention”) and Federal Rule of Civil Procedure

 28(b) and 28 U.S.C. § 1781(b), the undersigned authority respectfully has the honor to submit

 the following request:

  5.    a.    Requesting Judicial Authority           The Honorable Rodney Gilstrap
              (Article 3, a)                          United States District Court for the Eastern
                                                      District of Texas
                                                      Sam B. Hall, Jr. Federal Building and United
                                                      States Courthouse
                                                      100 East Houston Street
                                                      Marshall, Texas 75670
                                                      USA
        b.    To the competent Authority of           Republic of Korea
              (Article 3, a)
        c.    Name of the case and any                KAIFI LLC v. T-Mobile US, Inc., et al., Case
              identifying number                      No. 2:20-cv-00281-JRG, United States
                                                      District Court for the Eastern District of
                                                      Texas.




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                                                  KAIFI LLC v. Verizon Communications, Inc.,
                                                  et al., Case No. 2:20-cv-00280-JRG, United
                                                  States District Court for the Eastern District
                                                  of Texas.
  6.   Names and addresses of the parties and their representative (including representatives in
       the requested State) (Article 3, b)
       a.    Plaintiff                            KAIFI LLC (“KAIFI”)
       Representatives                            Enoch H. Liang
                                                  Michael J. Song
                                                  Vincent M. Pollmeier
                                                  LTL ATTORNEYS LLP
                                                  300 S. Grand Ave., 14th Fl.
                                                  Los Angeles, California 90071
                                                  Telephone: (213) 612-8900
                                                  Facsimile: (213) 612-3773
                                                  Email: enoch.liang@ltlattorneys.com
                                                  Email: michael.song@ltlattorneys.com
                                                  Email: vincent.pollmeier@ltlattorneys.com

                                                   Robert Christopher Bunt
                                                   PARKER, BUNT & AINSWORTH PC
                                                   100 E. Ferguson St., Suite 418
                                                   Tyler, Texas 75702
                                                   Email: rcbunt@pbatyler.com
       b.   Defendants                             T-Mobile US, Inc. and T-Mobile USA, Inc.
                                                   (collectively, “T-Mobile”); and Verizon
                                                   Communications Inc., Cellco Partnership
                                                   d/b/a Verizon Wireless, Verizon Services
                                                   Corp., Verizon Enterprise Solutions, LLC,
                                                   Verizon Business Global LLC, Verizon
                                                   Business Network Services, LLC, Verizon
                                                   Corporate Services Group, Inc., Verizon Data
                                                   Services, LLC, Verizon Media Inc., and
                                                   Verizon Online, LLC (collectively,
                                                   “Verizon,” and collectively with T-Mobile,
                                                   “Defendants”).
       Representatives                             Josh A. Krevitt
                                                   Benjamin Hershkowitz
                                                   Katherine Q. Dominguez
                                                   Paul J. Kremer
                                                   GIBSON, DUNN & CRUTCHER LLP
                                                   200 Park Avenue
                                                   New York, New York 10166-0193
                                                   Telephone: (212) 351-4000
                                                   Facsimile: (212) 351-4035
                                                   Email: jkrevitt@gibsondunn.com


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                                                      Email: bhershkowitz@gibsondunn.com
                                                      Email: kdominguez@gibsondunn.com
                                                      Email: pkremer@gibsondunn.com

                                                      Nathan R. Curtis
                                                      GIBSON, DUNN & CRUTCHER LLP
                                                      2001 Ross Avenue
                                                      Dallas, Texas 75201-2923
                                                      Tel: (214) 698-3423
                                                      Fax: (214) 571-2961
                                                      Email: ncurtis@gibsondunn.com

                                                      Melissa R. Smith
                                                      GILLAM & SMITH, LLP
                                                      303 S. Washington Ave.
                                                      Marshall, TX 75670
                                                      Telephone: (903) 934-8450
                                                      Facsimile: (903) 934-9257
                                                      Email: melissa@gillamsmithlaw.com
  7.   a.   Nature of the proceedings (divorce,       This is a civil action alleging patent
            paternity, breach of contract,            infringement under the patent laws of the
            product liability, etc.) (Article 3, c)   United States.

                                                      The above-captioned cases concern the same
                                                      Plaintiff and the same asserted patent, and
                                                      thus the information sought in these requests
                                                      is equally relevant to issues common to both
                                                      litigations. For convenience and conservation
                                                      of judicial resources, counsel for T Mobile
                                                      and Verizon have therefore coordinated to file
                                                      this single, consolidated set of requests under
                                                      the Hague Convention applicable to both
                                                      cases.
       b.   Summary of complaint                      The complaint alleges that T-Mobile infringes
                                                      U.S. Patent No. 6,922,728 (the “728 patent”)
                                                      by making, using, selling, offering to sell,
                                                      and/or importing certain wireless/cellular
                                                      instrumentalities. KAIFI alleges it is entitled
                                                      to damages constituting, in part, a reasonable
                                                      royalty on a license for the 728 patent. KAIFI
                                                      also alleges it is entitled to an injunction
                                                      preventing T-Mobile’s alleged continuing
                                                      infringement of the 728 patent. KAIST is the
                                                      original assignee named on the face of the
                                                      728 patent. The 728 patent was then




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                                           allegedly assigned to Intellectual Discovery
                                           Co., Ltd., and then to KAIFI.

                                           The complaint alleges that Verizon infringes
                                           U.S. Patent No. 6,922,728 (the “728 patent”)
                                           by making, using, selling, offering to sell,
                                           and/or importing certain wireless/cellular
                                           instrumentalities. KAIFI alleges it is entitled
                                           to damages constituting, in part, a reasonable
                                           royalty on a license for the 728 patent. KAIFI
                                           also alleges it is entitled to an injunction
                                           preventing Verizon’s alleged continuing
                                           infringement of the 728 patent. KAIST is the
                                           original assignee named on the face of the
                                           728 patent. The 728 patent was then
                                           allegedly assigned to Intellectual Discovery
                                           Co., Ltd., and then to KAIFI.
       c.   Summary of defenses            In defense against KAIFI’s claims of patent
                                           infringement, T-Mobile asserts, inter alia, that
                                           it does not infringe any of the claims of the
                                           728 patent. T-Mobile also asserts that KAIFI
                                           cannot enforce the 728 patent because it does
                                           not own all right, title, and interest in that
                                           patent; and that the 728 patent is
                                           unenforceable because it does not properly
                                           list all inventors. T-Mobile further asserts
                                           that the claims of the 728 patent are invalid
                                           under at least 35 U.S.C. §§ 102, 103, and 112;
                                           are ineligible for patent protection under 35
                                           U.S.C. § 101; and are unenforceable under
                                           equitable doctrines that include, but are not
                                           limited to, estoppel, unclean hands, waiver,
                                           and implied waiver.

                                           In defense against KAIFI’s claims of patent
                                           infringement, Verizon asserts, inter alia, that
                                           it does not infringe any of the claims of the
                                           728 patent. Verizon also asserts that KAIFI
                                           cannot enforce the 728 patent because it does
                                           not own all right, title, and interest in that
                                           patent; and that the 728 patent is
                                           unenforceable because it does not properly
                                           list all inventors. Verizon further asserts that
                                           the claims of the 728 patent are invalid under
                                           at least 35 U.S.C. §§ 102, 103, and 112; are
                                           ineligible for patent protection under 35



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                                                  U.S.C. § 101; and are unenforceable under
                                                  equitable doctrines that include, but are not
                                                  limited to, estoppel, unclean hands, waiver,
                                                  and implied waiver. Finally, Verizon asserts
                                                  that the KAIFI’s claims for damages are
                                                  statutorily limited under at least 35 U.S.C. §§
                                                  286 and 287; that KAIFI is barred from
                                                  recovering costs under 35 U.S.C. § 288; and
                                                  that claims for relief are limited under the
                                                  doctrines of full compensation, exhaustion,
                                                  and/or first sale.

                                                  Jaehyeong Park has knowledge relevant to
                                                  Defendants’ defenses, including Defendants’
                                                  contentions that the 728 patent is
                                                  unenforceable under United States patent law.
       d.   Other necessary information or        Jaehyeong Park is currently employed as a
            documents                             Manager of Intellectual Discovery Co.
                                                  Intellectual Discovery Co.’s current address
                                                  is:

                                                  Intellectual Discovery Co., Ltd.
                                                  15th Fl., Sebang Bldg., 433,
                                                  Seolleung-ro
                                                  Gangnam-Gu
                                                  Seoul 06212
                                                  Republic of Korea
  8.   a.   Evidence to be obtained or other      Since at least November 2009, Jaehyeong
            judicial act to be performed (Article Park has been employed as a Manager of
            3, d)                                 Intellectual Discovery Co. Jaehyeong Park
                                                  was involved in communications, on behalf of
                                                  Intellectual Discovery Co., with individuals at
                                                  Defendants concerning monetization of U.S.
                                                  Patent No. 6,922,728. Thus, Jaehyeong Park
                                                  possesses information relevant to Defendants’
                                                  defenses to the complaint’s allegations of
                                                  infringement of the 728 patent and other
                                                  aspects of the underlying case, including but
                                                  not limited to Defendants’ unenforceability
                                                  and damages defenses. For example,
                                                  Jaehyeong Park possess knowledge and
                                                  information relating to the valuation of the
                                                  728 patent; licensing of the 728 patent;
                                                  ownership of the 728 patent; and analyses
                                                  conducted regarding alleged infringement of
                                                  the 728 patent by Defendants. The evidence


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                                                      sought is directly relevant to the issues in
                                                      dispute.

                                                      Defendants have no recourse to seek this
                                                      information other than to enlist the aid of this
                                                      Authority through the Hague Convention.
       b.   Purpose of the evidence or judicial       The evidence sought is directly relevant to the
            act sought                                issues in dispute. In particular, Defendants
                                                      seek witness testimony regarding the
                                                      examination topics listed in Attachment A.
                                                      The relevance of each question is explained
                                                      below:

                                                       1. Intellectual Discovery Co., Ltd.
                                                          (“Intellectual Discovery Co.”) was a
                                                          recorded assignee of U.S. Patent No.
                                                          6,922,728 (the “728 patent”) according to
                                                          United States Patent and Trademark
                                                          Office (“USPTO”). Jaehyeong Park is or
                                                          was a Manager of Intellectual Discovery
                                                          Co. Thus, Jaehyeong Park would possess
                                                          information concerning the length of his
                                                          employment with, and his duties and
                                                          responsibilities as Manager of,
                                                          Intellectual Discovery Co.
                                                       2. Intellectual Discovery Co. was a recorded
                                                          assignee of the 728 patent according to
                                                          United States Patent and Trademark
                                                          Office (“USPTO”) records. Jaehyeong
                                                          Park, on behalf of Intellectual Discovery
                                                          Co., engaged in pre-suit correspondence
                                                          with one or more individuals working for
                                                          Defendants, including in an apparent
                                                          effort by Jaehyeong Park, on behalf of
                                                          Intellectual Discovery Co., to monetize
                                                          the 728 patent. As an employee of
                                                          Intellectual Discovery Co., Jaehyeong
                                                          Park would possess knowledge of
                                                          communications with Defendants relating
                                                          to Wi-Fi calling (the accused
                                                          instrumentality, see KAIFI LLC’s
                                                          Complaint, Dkt. No. 1, ¶ 36), the alleged
                                                          field of technology (see KAIFI LLC’s
                                                          Complaint, Dkt. No. 1, ¶¶ 33–35),
                                                          valuation of the 728 patent, patent sales
                                                          or licensing, and his authorization to enter



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                                              into a transaction with Defendants, all of
                                              which are relevant at least to Defendants’
                                              damages defenses.
                                           3. KAIST was the original assignee named
                                              on the face of the 728 patent (see KAIFI
                                              LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                              held the assignment for approximately
                                              13 years before the 728 patent was
                                              reassigned to Intellectual Discovery Co.
                                              (according to USPTO records). KAIST
                                              was also the employer of named inventor
                                              Dong-Ho Cho (see KAIFI LLC’s
                                              Complaint, Dkt. No. 1, ¶ 28, stating that
                                              Dong-Ho Cho “is currently a professor of
                                              electrical engineering at KAIST” and
                                              “has been the Dean of the College of
                                              Information Science & Technology at
                                              KAIST [and] served as the director of
                                              KAIST’s Wireless Power Transfer
                                              Technology Research Center”).
                                              Intellectual Discovery Co. held the
                                              assignment for nearly four years,
                                              according to USPTO records. Then,
                                              Intellectual Discovery Co. purportedly
                                              assigned the 728 patent to KAIFI LLC
                                              (USPTO records). Jaehyeong Park, as the
                                              Manager of Intellectual Discovery Co.,
                                              would possess knowledge regarding these
                                              assignments of the 728 patent. This
                                              information is relevant at least to
                                              Defendants’ unenforceability defenses.
                                           4. Intellectual Discovery Co. was a recorded
                                              assignee of the 728 patent according to
                                              United States Patent and Trademark
                                              Office (“USPTO”) records. Jaehyeong
                                              Park, on behalf of Intellectual Discovery
                                              Co., engaged in pre-suit correspondence
                                              with one or more individuals working for
                                              Defendants, including in an apparent
                                              effort by Jaehyeong Park, on behalf of
                                              Intellectual Discovery Co., to monetize
                                              the 728 patent. As an employee of
                                              Intellectual Discovery Co., Jaehyeong
                                              Park would possess knowledge of
                                              expected revenues from the licensing,
                                              and/or enforcement of the 728 patent



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                                                             and/or Korean Patent No. XX-XXXXXXX.
                                                             This information is relevant at least to
                                                             Defendants’ damages defenses.
                                                          5. Intellectual Discovery Co. was a recorded
                                                             assignee of the 728 patent according to
                                                             United States Patent and Trademark
                                                             Office (“USPTO”) records. Jaehyeong
                                                             Park, on behalf of Intellectual Discovery
                                                             Co., engaged in pre-suit correspondence
                                                             with one or more individuals working for
                                                             Defendants, including in an apparent
                                                             effort by Jaehyeong Park, on behalf of
                                                             Intellectual Discovery Co., to monetize
                                                             the 728 patent. As an employee of
                                                             Intellectual Discovery Co., Jaehyeong
                                                             Park would possess knowledge of
                                                             analysis reports concerning Defendants’
                                                             Wi-Fi calling system and the value of
                                                             being able to switch automatically and
                                                             without interruption between a Wi-Fi
                                                             network and a cellular network, as
                                                             described in the 728 patent. This
                                                             information is relevant at least to
                                                             Defendants’ damages defenses.
   9.    Identity and address of any person to be       Jaehyeong Park is currently employed as a
         examined (Article 3, e)                        Manager of Intellectual Discovery Co.
                                                        Intellectual Discovery Co.’s current address
                                                        is:

                                                        Intellectual Discovery Co., Ltd.
                                                        15th Fl., Sebang Bldg., 433,
                                                        Seolleung-ro
                                                        Gangnam-Gu
                                                        Seoul 06212
                                                        Republic of Korea
   10.   Questions to be put to the persons to be       See Attachment A (Witness Examination
         examined or statement of the subject           Questionnaire)
         matter about which they are to be
         examined (Article 3, f)
   11.   Documents or other property to be              None.
         inspected (Article 3, g)
   12.   Any requirement that the evidence be           The witness should be examined under oath.
         given on oath or affirmation and any
         special form to be used (Article 3, h)
   13.   Special methods or procedure to be             This Letter of Request includes the following
         followed (e.g., oral or in writing,            requests:


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         verbatim, transcript or summary, cross-
         examination, etc.) (Article 3, i) and 9)           That an authorized shorthand writer/court
                                                             reporter be present at the examination
                                                             who shall record the oral testimony
                                                             verbatim (in Korean) and prepare a
                                                             transcript of the evidence;
                                                            That a direct examination / re-direct
                                                             examination by Defendants’ Korean
                                                             counsel be allowed under Korean Civil
                                                             Procedure;
                                                            That simultaneous interpretation (e.g.,
                                                             whispering translation) by an interpreter
                                                             for either party or counsel be permitted at
                                                             the party’s expense;
                                                            That Defendants’ Korean counsel be
                                                             permitted to ask the witness additional
                                                             questions that are related to the subject
                                                             matter set forth in Attachment A;
                                                            That KAIFI’s counsel be permitted to ask
                                                             the witness additional questions that are
                                                             related to the subject matter set forth in
                                                             Attachment A; and
                                                            That audio recording of the witness
                                                             testimony be provided in electronic form
                                                             to This Court and representatives of the
                                                             parties as indicated above.

                                                         In the event the evidence cannot be taken in
                                                         the manner or location requested, it is to be
                                                         taken in such a manner or location as
                                                         provided by local law. To the extent any
                                                         request in this section is deemed incompatible
                                                         with Korean principles of procedural law, it is
                                                         to be disregarded.
   14.   Request for notification of the time and        This Court respectfully requests that you
         place for the execution of the Request          notify this Court; the representatives of the
         and identity and address of any person to       parties as indicated above; the witness from
         be notified (Article 7)                         whom evidence is requested as indicated
                                                         above; such person(s) that you deem proper;
                                                         and the attorney named below:

                                                         Seong-Soo Park
                                                         Kim & Chang
                                                         75, Saemunan-ro (Crescendo Building),
                                                         Jongno-gu, Seoul, 03182, Korea
                                                         Tel: +82-2-3703-1870


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                                                     seongsoo.park@kimchang.com
   15.   Request for attendance or participation of No judicial personnel of the requesting
         judicial personnel of the requesting        authority will attend or participate.
         authority at the execution of the Letter of
         Request (Article 8)
   16.   Specification of privilege or duty to       Defendants believe that Jaehyeong Park does
         refuse to give evidence under the law of    not benefit from any privilege, and does not
         the State of origin (Article 11, b)         endorse the assertion of any such privilege or
                                                     duty.
   17.   The fees and costs incurred which are       Defendants will bear the reimbursable costs
         reimbursable under the second paragraph associated with this request in accordance
         of Article 14 or under Article 26 of the    with the provisions of the Hague Convention.
         Convention will be borne by:                Please contact Defendants’ counsel at the
                                                     addresses set out under paragraph 6.b above,
                                                     to make any necessary financial
                                                     arrangements.




  DATE OF REQUEST                             __________________ 2021




                                              ___________________________
                                              The Honorable Rodney Gilstrap
                                              United States District Judge
                                              United States District Court for the Eastern District
                                              of Texas, Marshall Division
                                              Sam B. Hall Jr. Federal Building and United States
                                              Courthouse
                                              100 East Houston Street
                                              Marshall, Texas 75670
                                              United States of America
                                              (signature and seal)




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                        ATTACHMENT A




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                                        INSTRUCTIONS

  1.    In responding to the examination questions below, please respond with all information that

        is available to you.

  2.    Any information provided by you will be treated according to the Protective Order in this

        case. If requested, the Protective Order will be provided to you separately.

              WITNESS EXAMINATION QUESTIONNAIRE: Jaehyeong Park

  1.    How long have you been employed by Intellectual Discovery Co., Ltd. (or how long were

        you employed if no longer)?

  2.    What were your job duties and responsibilities as Manager (or your current job duties and

        responsibilities if you have moved to a different position)?

  3.    Please describe your past employment with Intellectual Discovery Co., Ltd., including your

        job duties and responsibilities in each former role.

  4.    Please describe communications (including emails and written notes) between you and any

        individual working for Defendants in or around November 2015 regarding U.S. Patent No.

        6,922,728 and/or Korean Patent No. XX-XXXXXXX, relating to Wi-Fi calling, roaming or

        handover technology, patent valuation, or patent sales or licensing.

  5.    Please explain why you approached Defendants in or around November 2015 and what

        your business goals were at the time. Did you have a target for how much compensation

        Intellectual Discovery Co., Ltd. could get from Defendants in connection with U.S. Patent

        No. 6,922,728 and/or Korean Patent No. XX-XXXXXXX?

  6.    Please identify the individuals you communicated with about your interactions with

        Defendants and describe those communications.




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  7.    Were you given authority to consummate a transaction with Defendants? If so, what was

        the minimum compensation you were authorized to accept, and what rights would

        Intellectual Discovery Co., Ltd. have conveyed in exchange for that compensation?

  8.    Please describe the acquisition of U.S. Patent No. 6,922,728 from KAIST and the

        assignment of U.S. Patent No. 6,922,728 to KAIFI LLC. How much did Intellectual

        Discovery Co., Ltd. initially offer KAIST for rights to this patent? How much did KAIFI

        initially offer for rights to this patent when it acquired it from Intellectual Discovery Co.,

        Ltd.?

  9.    Please describe revenues, compensation, consideration, costs, expenses, and profits

        (including gross and net profits) generated, received, and/or to be received in connection

        with U.S. Patent No. 6,922,728, Korean Patent No. XX-XXXXXXX, or both, and/or in

        connection with this lawsuit.

  10.   Please describe the methodology used to calculate or otherwise determine revenues,

        compensation, costs, expenses, profits, and/or the value of being able to switch

        automatically and without interruption between a Wi-Fi network and a cellular network.

  11.   Please describe your enforcement and/or preparation for enforcement of U.S. Patent No.

        6,922,728, including analyses of infringement (e.g., the infringement analysis report or its

        equivalent generated in connection with acquisition of U.S. Patent No. 6,922,728 from

        KAIST, and your communications (including emails and written notes) with any individual

        working for Defendants regarding U.S. Patent No. 6,922,728 in at least November 2015),

        non-infringement, validity, invalidity, enforceability, or unenforceability of U.S. Patent

        No. 6,922,728.




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  12.   Who prepared the description of Defendants’ Wi-Fi calling system that you transmitted to

        Defendants in or around November 2015? Who else did you send this description to?

  13.   Identify each company licensed to use U.S. Patent No. 6,922,728 or Korean Patent No. 10-

        0386092, the date on which each such company was first licensed, and state the total

        compensation paid or expected to be paid for each such license.

  14.   How many companies did Intellectual Discovery Co., Ltd. approach about U.S. Patent No.

        6,922,728 or Korean Patent No. XX-XXXXXXX?

  15.   Please describe presentations or notes for presentations offered by or on behalf of you

        relating to technology for roaming or handover between a Wi-Fi network and a cellular

        network from November 2009 to present.

  16.   Please describe the analyses prepared by you or at your direction of the operation of, and

        market for, Defendants’ services providing for Wi-Fi calling, and analyses of the cost or

        value of being able to seamlessly switch between a Wi-Fi and a cellular network.

  17.   Please explain the relationship with or agreements or draft agreements (including employee

        policies and procedures, employment agreements, work-for-hire agreements, assignment

        agreements, licensing agreements, IP-ownership agreements, royalty agreements, or other

        agreements) between Intellectual Discovery Co., Ltd. and the Dong-Ho Cho, KAIST,

        KAIFI LLC, or any other current or former owner of U.S. Patent No. 6,922,728 or Korean

        Patent No. XX-XXXXXXX, from December 1996 to present.

  18.   Please explain Intellectual Discovery Co., Ltd.’s policies and practices concerning patent

        licensing or commercialization, dating back to November 2009, including:

               a.     written licensing policies or best practices;




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              b.   economic and technical factors considered by Intellectual Discovery Co.,

                   Ltd. (and its employees and agents) in drafting and entering into license,

                   royalties or settlement agreements;

              c.   standard or preferred terms for license agreements;

              d.   the process by which Intellectual Discovery Co., Ltd. determines the nature,

                   scope and terms of license agreements in which it is a licensor; and

              e.   circumstances in which Intellectual Discovery Co., Ltd. deviated from such

                   policies.




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